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                       IN THE UNITED STATES DISTRICT COURT
                        FOR THE EASTERN DISTRICT OF TEXAS
                                SHERMAN DIVISION


 CORNERSTONE CREDIT UNION
 LEAGUE and CONSUMER DATA
 INDUSTRY ASSOCIATION,

                Plaintiffs,
                                                               No. 4:25-cv-00016-SDJ
                v.

 CONSUMER FINANCIAL PROTECTION
 BUREAU and RUSSELL VOUGHT in his
 official capacity as Acting Director of the
 CFPB,

                        Defendants.


                      UNOPPOSED MOTION FOR LEAVE TO FILE
                     CONSOLIDATED TWENTY-FIVE PAGE BRIEF

       Defendant-Intervenors seek this Court’s permission to file a single twenty-five page

memorandum of law in response to both Plaintiffs’ Motion for Preliminary Injunction, ECF No.

9, and the Joint Motion for Entry of Consent Judgment, ECF No. 31, to the extent that leave is

necessary. In support of this motion, Defendant-Intervenors state as follows:

       1.      Two motions are pending before this Court, Plaintiffs’ Motion for Preliminary

Injunction, ECF No. 9, and the Joint Motion for Entry of Consent Judgment, ECF No. 31. These

two motions consist of, respectively, twenty and five pages.

       2.      This Court has proposed consolidation of the merits of this matter with the pending

motions. To the extent that the consolidation addresses solely those matters that have been briefed,

Defendant-Intervenors do not object to the consolidation. Local Rule CV-7 sets forth a page limit

of thirty pages for responses to dispositive motions.
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       3.     Plaintiffs and Defendants do not oppose Defendant-Intervenors filing a brief of

twenty-five pages to collectively respond to the two pending motions.

       WHEREFORE, Defendant-Intervenors respectfully request that, to the extent necessary,

the Court grant them leave to file a twenty-five page consolidated brief in response to the two

pending motions.



Dated: May 22, 2025



Respectfully submitted:

/s/ Jennifer S. Wagner
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Counsel for Defendant-Intervenors
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                                 CERTIFICATE OF SERVICE

       I certify that on May 22, 2025, the foregoing document was filed on the Court’s CM/ECF

system which sent notification of such filing to all counsel of record.

                                                             /s/ Jennifer S. Wagner



                             CERTIFICATE OF CONFERENCE

       Undersigned counsel has complied with the meet and confer requirement in Local Rule

CV-7(h) by contacting counsel for all parties by email on May 20 and May 21, 2025. Plaintiffs

and Defendant have both stated that they do not oppose this motion.

                                                             /s/ Jennifer S. Wagner
